      Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 1 of 12



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ALISON S. ROGERS,                               §
     Plaintiff,                                 §
                                                §                CIVIL NO. 4:18-cv-04181
vs.                                             §
                                                §
CAR WASH PARTNERS, INC. and                     §
CWP ASSET CORP., both dba.                      §        Removed from the 152nd District Court
MISTER CAR WASH, and                            §        of Harris County, Texas (2018-65634)
JOHN DOE                                        §
     Defendants.                                §

          DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE
          DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT, AND
                CAR WASH PARTNERS, INC.’S FIRST AMENDED
                    ANSWER AND AFFIRMATIVE DEFENSES

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Defendant CWP Asset Corp. (“CWPAC”) pursuant to Federal Rule of Civil Procedure

8(b), files its original Answer and Affirmative Defenses to Plaintiff Alison Rogers’ (“Plaintiff”)

First Amended Complaint in the above-entitled and numbered case. Defendant Car Wash

Partners Inc., d/b/a Mister Car Wash (“CWPI”) pursuant to Federal Rule of Civil Procedure

15(a), files its First Amended Answer to said First Amended Complaint.                   The paragraph

numbers, below, correspond with the enumerated paragraphs in Plaintiff’s First Amended

Complaint (Dkt No. 13):

                                     UNNUMBERED PARAGRAPH

        Defendants currently lack knowledge or information sufficient to form a belief regarding

the factual allegations in the unnumbered paragraph. Defendants admit that Plaintiff visited the

subject Mister Car Wash location in September 2016. Defendants admit that a CWPAC

employee collided with Plaintiff’s vehicle but currently lack knowledge or information sufficient



DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                          Page 1
     Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 2 of 12



to form a belief regarding the claim of “substantial damage.” Defendants concede and stipulate

that a CWPAC employee (the driver of the vehicle that struck Plaintiff’s vehicle) was negligent

on the occasion in question, but denies Defendants were themselves negligent as alleged by

Plaintiff (other than as to CWP, pursuant to the doctrine of respondeat superior). Defendants

deny the remaining allegations contained in the first unnumbered paragraph of Plaintiff’s

Amended Complaint.

                                                   I.
                                                PARTIES

        1.      Defendants currently lack knowledge or information sufficient to form a belief

regarding allegations in Paragraph 1 regarding Plaintiff’s place of residence.

        2.      Defendants admit the allegations in Paragraph 2 that CWPI is a Delaware

Corporation, authorized to do business in Texas, previously has been served and may be served

with process by serving its attorneys of record in this matter.

        3.      Defendants admit the allegations in Paragraph 3.

        4.      Defendants admit CWPAC employee Oscar Molina (“Molina”) was driving the

vehicle that caused the collision. His name, address, phone number, and date of birth was

previously provided to counsel via telephone conference on December 28, 2018. The statute of

limitations has run with respect to any claim by Plaintiff against Mr. Molina, and there is no

applicable “John Doe” procedure, as alleged by Plaintiff, available in this action.

                                                  II.
                                             JURISDICTION

        5.      Defendants admit the allegations in Paragraph 5.




DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                          Page 2
     Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 3 of 12



        6.      Defendants admit the allegation in Paragraph 6 that the Court has personal

jurisdiction over Defendants because they were conducting business in Texas. Defendants deny,

however, that they committed torts in the State of Texas, or otherwise.

        7.      With respect to the allegations in Paragraph 7, Defendants admit Plaintiff would

have had personal jurisdiction over Mr. Molina, had they sued him. Defendants deny there is

any “John Doe” procedure available to Plaintiff that would apply to any claims against Mr.

Molina, individually.

                                                  III.
                                                 VENUE

        8.      Defendants admit the allegations in Paragraph 8.

                                                IV.
                                            BACKGROUND

        9.      Defendants admit Plaintiff visited the Mister Car Wash location at 10760

Westheimer Road, Houston, Harris County, Texas on September 19, 2016. Defendants currently

lack knowledge or information sufficient to form a belief regarding the remaining allegations in

Paragraph 9 of Plaintiff’s Amended Complaint.

        10.     Defendants admit the allegation in Paragraph 10 that a CWPAC employee, Oscar

Molina, accidentally drove a van into Plaintiff’s parked vehicle. Defendants deny the remaining

allegations contained in Paragraph 10.

        11.     Defendants admit the factual allegations in the Paragraph 11.

        12.     This corresponding paragraph does not contain factual allegations that require

Defendants to admit or deny.

        13.     Defendants admit the allegation of Paragraph 13 that eleven exported frames from

the video of the accident are attached to the Amended Complaint as Exhibit “B.”



DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                          Page 3
     Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 4 of 12



        14.     Defendants deny the allegations in Paragraph 14 regarding claims of gross

negligence and/or malice. As noted previously, Defendants admit Mr. Molina was negligent on

the occasion in question.

        15.     Defendants deny the allegations in Paragraph15.

        16.     Defendants deny the allegations in Paragraph 16.

        17.     With respect to Paragraph 17, Defendants admit Mr. Molina negligently drove a

van into the vehicle owned by Plaintiff. Defendants deny the remaining allegations contained in

Paragraph 17.

                                                 V.
                                       COUNT 1 – NEGLIGENCE

        18.     Defendants admit the allegation in Paragraph 18 as it relates to CWPAC.

Defendants otherwise deny the allegation in Paragraph 18.

        19.     Defendants admit “Oscar Molina” was in the course and scope of his employment

with CWPAC and was negligent in his operation of the subject van (which was not a

“commercial” van, in the sense that it was not a “commercial vehicle” under federal or state

law). Defendants otherwise deny the allegations contained in Paragraph 18 of the Amended

Complaint.

        20.     Defendants deny the allegations in Paragraph 20 that the breach of duty caused

injury to Plaintiff, including specifically but not by way of limitation mental anguish, and only

specifically admits that Molina’s breach of duty proximately caused property damage to

Plaintiff’s vehicle.

        21.     Defendants deny the allegations in Paragraph 21.




DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                          Page 4
     Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 5 of 12



                                                   VI.
                               COUNT 2 – NEGLIGENT ENTRUSTMENT

        22.     Defendants deny the allegations in Paragraph 22.

        23.     Defendants admit the allegation of Paragraph 23 that Mr. Molina did not have a

license (he was operating vehicles on private property, only, and not on a roadway). Defendants

deny the remaining allegations in Paragraph 23.

        24.     Defendants deny the allegations in Paragraph 24.

        25.     Defendants admit the allegations in Paragraph 25 (as they relate to Mr. Molina).

        26.     Defendants deny the allegations in Paragraph 26. Defendants further note that the

undersigned counsel, Ms. Mendiola, had a telephone conference with Plaintiff’s counsel on

December 28, 2018 regarding the identity and all known information regarding Molina. Plaintiff

did not propound discovery or send any formal request for information.

        27.     Defendants deny the allegations in Paragraph 27.

        28.     Defendants deny the allegations in Paragraph 28 regarding alleged personal

injuries, including any alleged mental anguish. Defendants admit Mr. Molina’s action resulted in

property damage to Plaintiff’s vehicle, but denies the amounts claimed by Plaintiff are

reasonable and necessary. Further, Defendants note Plaintiff was fully compensated for the

value of her vehicle as a result of water damage caused by Hurricane Harvey, meaning Plaintiff

is seeking an inappropriate double-recovery.             Defendants otherwise deny the remaining

allegations in Paragraph 28.

        29.     Defendants deny the allegations in Paragraph 29.

                                              VII.
                                   COUNT 3 – NEGLIGENT HIRING

        30.     Defendants admit the allegations in Paragraph 30.



DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                          Page 5
     Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 6 of 12



        31.     Defendants deny the allegations in Paragraph 31.

        32.     Defendants deny the allegations in Paragraph 32.

        33.     Defendants deny the allegations in Paragraph 33.

                                              VIII.
                                 COUNT 4 – BREACH OF WARRANTY

        34.     The allegations in the first sentence of Paragraph 34 do not constitute factual

allegations Defendants are required to admit or deny. Defendants deny the allegations in the

second sentence of Paragraph 34 that there is an implied warranty of good workmanship related

to car wash services.

        35.     Defendants deny that allegation in Paragraph 35 that one adds value to car by

washing it. Defendants admit Plaintiff’s vehicle was damaged, but denies the extent of the

damage, as alleged by Plaintiff in Paragraph 35.

        36.     Defendants deny the allegations in Paragraph 36.

        37.     Defendants deny the allegations in Paragraph 37 regarding alleged personal

injuries, including any alleged mental anguish. Defendants admit Mr. Molina’s action resulted in

property damage to Plaintiff’s vehicle, but denies the amounts claimed by Plaintiff are

reasonable and necessary. Further, Defendants note Plaintiff was fully compensated for the

value of her vehicle as a result of water damage caused by Hurricane Harvey, meaning Plaintiff

is seeking an inappropriate double-recovery.            Defendants otherwise deny the remaining

allegations in Paragraph 37.

        38.     Defendants deny the allegations in Paragraph 38.




DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                          Page 6
     Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 7 of 12



                                            IX.
                COUNT 5 – VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES ACT

          39.    Defendants admit the allegations in Paragraph 39. Defendant denies, however,

that the Deceptive Trade Practices Act (“DTPA”) is applicable in this action.

          40.    Defendants generally admit they are corporations and, under certain inapplicable

circumstances, could be sued under the DTPA. Defendants deny the DTPA is applicable in this

action.

          41.    Defendants deny the allegations in Paragraph 41.

          42.    Defendants deny the allegations in Paragraph 42.

          43     Defendants deny the allegations in Paragraph 43.

          44.    Defendants deny the allegations in Paragraph 44.

          45.    Defendants deny the allegations in Paragraph 45.

          46.    Defendants deny the allegations in Paragraph 46.

          47.    Defendants deny the allegations in Paragraph 47.

                                               X.
                                      CONDITIONS PRECEDENT

          48.    Defendants deny the allegations in Paragraph 48. Specifically, to the extent the

DTPA applied or does apply, Plaintiff did not perform necessary the conditions precedent under

Texas Business and Commerce Code section 15.505(a). Specifically, Plaintiff failed to provide

60-day pre-suit notice; instead, Plaintiff filed suit one day before the statute of limitations

expired, without providing notice to any Defendant. Defendants specifically deny that the notice

requirement was rendered impracticable as Plaintiff obtained surveillance video footage, contact

information for the facility, and ultimately accepted payment for the currently alleged damages

significantly in advance of filing suit.



DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                          Page 7
     Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 8 of 12



                                                   XI.
                                                PRAYER

        49.      The allegations in Paragraph 49 do not constitute factual allegations that

Defendants are required to admit or deny. To the extent a response is required, Defendants deny

that Plaintiff is entitled to recover any of the alleged damages it seeks, as listed in subparts a-i of

its prayer for relief.

                                                  XII.
                                       AFFIRMATIVE DEFENSES

                                      First Affirmative Defense

        1.       Defendants deny all allegations presented in Plaintiff’s First Amended Complaint

that are not expressly denied in Paragraphs 1-49, above.

                                     Second Affirmative Defense

        2.       Defendants further deny Plaintiff sustained recoverable damages as any alleged

damages have been paid and any further recovery constitutes an impermissible double recovery.

See Waite Hill Servs., Inc., v. World Class Metal Works, Inc., 959 S.W.2d 182, 184-85 (Tex.

1998) (a plaintiff cannot obtain more than one recovery for the same injury). Plaintiff would be

impermissibly unjustly enriched, were she to recover the damages sought. Specifically, as a

result of water damage caused by Hurricane Harvey, Plaintiff received full value for her vehicle

from Amica Mutual Insurance Company, Plaintiff’s insurance carrier (in excess of $70,000.00).

Further, after the subject accident, Plaintiff was paid the following amounts by EMC Insurance

Company, the liability carrier for CWPAC:

                 a. Plaintiff was paid $13,718.17 to repair her vehicle;

                 b. Plaintiff was paid $5,535.77 in rental car expenses for a rental vehicle.




DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                          Page 8
     Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 9 of 12



The payment by EMC Insurance Co. constitutes an accord and satisfaction and/or, at a minimum,

entitle Defendants to a credit against alleged property damages. Plaintiff is not entitled to

receive additional property damage payments for her vehicle.

                                      Third Affirmative Defense

        3.      Plaintiff’s claims are barred, in whole or in part, on the basis that Plaintiff’s First

Amended Complaint fails to state a claim against Defendants upon which relief can be granted.

                                     Fourth Affirmative Defense

        4.      Plaintiff’s claims for personal injury and/or mental anguish are barred in whole or

in part because Texas law does not allow for the recovery of such damages when Plaintiff was

not physically injured in connection with the alleged property damage. See City of Tyler v.

Likes, 962 S.W.2d 489 (Tex. 1997) (dismissing plaintiff’s claims for mental anguish arising from

damages to plaintiff’s property).

                                      Fifth Affirmative Defense

        5.      Pursuant to Texas Rules of Civil Procedure 95, Plaintiff’s property damage claim

is barred by affirmative payment of the property claim by Defendants insurance carrier.

                                     Sixth Affirmative Defense

        6.      Defendants affirmatively assert all just and lawful offsets and credits for any

amounts paid or otherwise available to Plaintiff, to compensate for her alleged damages, if any.

                                    Seventh Affirmative Defense

        7.      To the extent Plaintiff suffered any personal injury damages, Defendants plead the

“paid or incurred” statute regarding medical bills incurred. See TEX. CIV. PRAC. & REM. CODE §

41.0105.




DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                          Page 9
    Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 10 of 12



                                      Eighth Affirmative Defense

        8.      Defendants specifically deny that Plaintiff gave timely written notice as required

by the DTPA.

                                     Ninth Affirmative Defense

        9.      Pleading further, and while continuing to deny liability, in the unlikely event

Plaintiff recovers damages in this case, Plaintiff’s recovery is limited, with respect to pre-

judgment and post-judgment interest, if any, by Chapter 304 of the Texas Finance Code.

                                     Tenth Affirmative Defense

        10.     Defendants specifically deny that Plaintiff is entitled to recover any punitive

damages. Further, Plaintiff may not be awarded any punitive damages unless she establishes by

clear and convincing evidence that Defendants were grossly negligent and/or acted with malice,

which is denied. TEX.CIV.PRAC. & REM.CODE §41.003. Additionally, in the unlikely event the

Court submits a punitive damages question to the jury as to Defendants, Defendants request that

the jury be instructed consistent with the provisions of Chapter 41 of the Texas Civil Practice and

Remedies Code. See TEX.CIV.PRAC. & REM.CODE §41.012.

                                   Eleventh Affirmative Defense

        11.     In the unlikely event of any punitive damages award, Defendants further invoke

the limitations on the amount of any such recovery contained in Chapter 41 of the Texas Civil

Practice and Remedies Code. See TEX.CIV.PRAC. & REM.CODE §41.008. While continuing to

deny it was grossly negligent, and/or that Plaintiff is entitled to punitive damages, Defendants

would further show that punitive damages, if any, must bear a reasonable relationship to actual

damages awarded, if any. Pleading further, and with respect to the Plaintiff’s claims seeking




DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                        Page 10
     Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 11 of 12



punitive damages, Defendants would show that such damages are inappropriate and are

impermissible under Texas and United States law because:

        a. Such an award would constitute a denial of due process and a denial of equal
           protection of the law under the constitutions of the United States and of Texas.

        b. Such an award would constitute a taking of property without due process of
           law under the constitutions of the United States and of Texas.

        c. Such an award would provide unjust enrichment by reason of the
           unconstitutional taking of property without due process of law as provided by
           the constitutions of the United States and of Texas.

        d. Under Texas law, the measure for punitive damages is so vague and
           ambiguous that: (1) both on its face and in application such measure, if any,
           denies Defendants due process of law and equal protection of law as provided
           by the constitutions of the United States and of Texas; (2) such measure, if
           any, prevents courts and juries from consistently applying the law; and (3)
           such measure, if any, prevents adequate and fair judicial review of such
           awards.

        e. An award of punitive damages would violate the excessive fines clause of the
           Eighth Amendment to the United States Constitution.

                                    Twelfth Affirmative Defense

        12.     Defendants reserve the right to assert additional defenses with respect to such

losses por damages as additional information becomes available or apparent as this litigation

proceeds.

        WHEREFORE, PREMISES CONSIDERED, Defendants pray that upon final judgment,

Plaintiff’s claims for relief be denied in their entirety, Plaintiff takes nothing by her claims, and

Defendants be granted such other and further relief to which the Court may find they are justly

entitled.




DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                        Page 11
    Case 4:18-cv-04181 Document 17 Filed on 05/22/19 in TXSD Page 12 of 12



                                                Respectfully submitted,

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                                                By:_
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                                                ATTORNEYS FOR DEFENDANTS CWP
                                                ASSET CORP., AND CAR WASH PARTNERS,
                                                INC.

                                  CERTIFICATE OF SERVICE

       I hereby by my signature below that a true and correct copy of the foregoing document
was served on all counsel of record in compliance with the Federal Rules of Civil Procedure and
the Local Rules for the Southern District of Texas on this the 22nd day of May 2019.

Charles J. Rogers                                       Via E-Mail: crogers@longevitysports.com
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                                                Gregg R. Brown




DEFENDANT CWP ASSET CORP.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT,
AND CAR WASH PARTNERS INC.’S FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES                        Page 12
